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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            Filed: September 6, 2019

*************************
FRANLINE LUCINDA DESTIN,                    *
                                            *        No. 18-1206V
                                            *
                      Petitioner,           *        Special Master Sanders
v.                                          *
                                            *
SECRETARY OF HEALTH                         *        Stipulation for Award; Influenza
AND HUMAN SERVICES,                         *         (“flu”) Vaccine; Shoulder Injury; Bone
                                            *        Marrow Edema; Bursitis.
                                            *
                      Respondent.           *
*************************
Carol L. Gallagher, Somers Point, NJ, for Petitioner.
Sarah C. Duncan, United States Department of Justice, Washington, DC, for Respondent.

                                                   DECISION1

        On August 13, 2018, Franline Destin (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012). Petitioner alleged that the influenza (“flu”) vaccine she received on October 30, 2017,
caused her to suffer left shoulder injuries, including bone marrow edema/contusion in the greater
tuberosity/humeral neck and mild subacromial/subdeltoid bursitis. See Stip. at 1, ECF No. 30.
Petitioner further alleged that she experienced the residual effects of her injury for more than six
months. Id.

         On September 6, 2019, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Id. at 2. Respondent denies that the flu
vaccine caused Petitioner’s alleged left shoulder injuries, or any other injury (including a Shoulder
Injury Related to Vaccine Administration or “SIRVA”). Id. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. I find the stipulation reasonable and adopt it as
the decision of the Court in awarding damages, on the terms set forth therein.


1
  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2012)). This means the Decision will be available to anyone with access to the Internet. As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any information furnished by that
party: (1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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         The parties stipulate that Petitioner shall receive the following compensation:

                  A lump sum of $40,221.86 in the form of a check payable to [P]etitioner.
                  This amount represents compensation for all damages that would be
                  available under 42 U.S.C. § 300aa-15(a).

Id.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3


         IT IS SO ORDERED.

                                                                s/Herbrina D. Sanders
                                                                Herbrina D. Sanders
                                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice renouncing the
right to seek review.


                                                           2
